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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Raul Siancas, individually and on behalf of all others similarly
situated
                                                                   14-cv-4541 (JS)(SIL)

                                               Plaintiffs,         MOTION FOR LEAVE
                                                                   TO AMEND
                           -against-                               COMPLAINT

Rallye Motors, LLC, Rallye Motors Holding LLC, Rallye
Glen Cove, LLC, Rallye Northern, LLC, Rallye Roslyn, LLC,
Rallye Roslyn Holding, LLC, Rallye Westbury, LLC, and
Exclusive Detailing, Inc.,

                                               Defendants.


       PLEASE TAKE NOTICE that, upon the Memorandum of Law in Support of Plaintiff’s

Motion to Amend the Complaint, and the proposed First Amended Complaint annexed hereto as

Exhibit 1 and dated September 11, 2015, Plaintiffs will move this Court, before the Honorable

Joanna Seybert, USDJ pursuant to Rules 15 and 21 of the Federal Rules of Civil Procedure, on a

date to be set by the Court, for an order permitting the service and filing of the First Amended

Complaint.

       PLEASE TAKE FURTHER NOTICE that, pursuant to Local Civil Rule 6.1(b) of the

Eastern District of New York, answering papers, if any, are to be served two weeks after receipt

of the moving papers on this motion, with reply papers, if any, to be served one week later.

Dated: September 25, 2015
       Glen Cove, New York
STEVEN J. MOSER, P.C.



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